  Case 2:17-cr-00038-MHT-GMB Document 125 Filed 03/14/18 Page 1 of 13




  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


UNITED STATES OF AMERICA,          )
                                   )      CRIMINAL ACTION NO.
   v.                              )         2:17cr38-MHT
                                   )             (WO)
REINIER PEREZ-RIVES                )


                         OPINION AND ORDER

    This   case    is    currently     before   the   court    on    the

government’s motion for a psychiatric examination of

defendant Reinier Perez-Rives by the Bureau of Prisons

(BOP) for purposes of sentencing.            For the reasons that

follow, the motion is granted only to the extent, at this

time, that the government may obtain an expert of its

choosing to conduct a mental-health evaluation of the

defendant in the local community.



                          I. Background

    Perez-Rives         pled   guilty,     pursuant      to   a     plea

agreement, to one count of conspiracy to commit wire

fraud, see 18 U.S.C. § 1349, and one count of aiding and
  Case 2:17-cr-00038-MHT-GMB Document 125 Filed 03/14/18 Page 2 of 13




abetting        aggravated       identity          theft,        see         18

U.S.C. §§ 1028A and 2.

      At his sentencing hearing, Perez-Rives moved for a

downward variance based in part on his contention that

his    mental     illness       and       substance-abuse        disorders

contributed to his offense conduct.                      According to a

psychological report commissioned by the defense, he was

suffering from Major Depressive Disorder, Alcohol Use

Disorder,      Cocaine    Use    Disorder,         and   Marijuana       Use

Disorder at the time he committed the offense conduct.

See   Flores     Report     (doc.     no.     108-2)     at     13.       The

psychologist,     Dr.     Adriana     Flores,      opined      that,    as    a

result of these disorders, Perez-Rives’s “judgment was

likely impaired” at the time he committed the offense

conduct,    and    “[t]here       appear[ed]        to    be     a     direct

correlation between Mr. Perez-Rives’s mental health and

his commission of the offense.”              Id.

      In response to Flores’s report, the government moved

for its own psychiatric evaluation, to be conducted at a

BOP facility.      The government argued that, if the court

                                      2
     Case 2:17-cr-00038-MHT-GMB Document 125 Filed 03/14/18 Page 3 of 13




intends      to    rely   on   Flores’s    report       in   fashioning    a

sentence, the government should be allowed obtain its own

psychological evaluation to present as rebuttal evidence.

Instead of acquiring a local evaluation as the defense

did, the government requested an order of the court

requiring         Perez-Rives    to   submit       to   a    longitudinal,

in-patient psychiatric examination at a BOP facility--a

facility that would be substantially distant from the

current venue of these proceedings, that is, the Middle

District of Alabama.           The government further argued that

the evaluation should be done at the BOP because it will

be    more   comprehensive,       because     of    the      expertise   and

experience of the BOP staff, and because an evaluation

by the BOP may be more trustworthy than an evaluation by

an expert paid by either side.              Perez-Rives objected to

having the examination conducted at a BOP facility, but

did not object to submitting to a psychiatric evaluation

locally by an expert selected by the government.




                                      3
     Case 2:17-cr-00038-MHT-GMB Document 125 Filed 03/14/18 Page 4 of 13




                                II. Analysis

      A      sentencing         court           has       authority,          under     18

U.S.C. § 3552(b),              to       order    a    study     of       a    convicted

defendant      when       it    “desires         more      information          than    is

otherwise available to it as a basis for determining the

sentence       to    be    imposed.”              Studies      ordered         pursuant

to § 3552(b) are to be conducted in the local community,

unless at least one of two conditions are met.                                         The

statute provides: “The study shall be conducted in the

local       community      by       qualified         consultants            unless    the

sentencing judge finds that there is a compelling reason

for the study to be done by the Bureau of Prisons or

there are no adequate professional resources available

in    the    local    community            to    perform      the    study.”            18

U.S.C. § 3552(b) (emphasis added).

      Therefore,          for       a    court       to    order    an       evaluation

pursuant       to § 3552(b),               it     must       (1)     desire           more

information than is otherwise available to it and (2)

order the evaluation to be conducted locally, unless (a)

there is a compelling reason for the study to be done by

                                            4
  Case 2:17-cr-00038-MHT-GMB Document 125 Filed 03/14/18 Page 5 of 13




BOP or (b) there are no adequate professional resources

available in the local community to perform the study.

       This    court    has     held       that     there     are       certain

circumstances       under      which       a    sentencing       judge       could

reasonably        “desire       more       information”           and        order

a § 3552(b) study.            In particular, this court has held

that where there is a reasonable basis to believe that a

defendant’s drug addiction or mental disease or defect

contributed       to    the    conduct         underlying        his    or     her

conviction,       the   court     should         order    a   mental-health

evaluation pursuant to § 3552(b) to help determine (1)

how     a     defendant’s      mental          disorder(s)        might,       for

sentencing purposes, mitigate his or her culpability for

the offense conduct; and (2) what type of treatment, if

any,    the    defendant      should       receive       during    supervised

release.       See United States v. Mosley, 277 F. Supp. 3d

1294 (M.D. Ala. 2017) (Thompson, J.).

       In Mosley, the court on its own ordered an evaluation

under § 3552(b)         because    it          wanted,     for     sentencing

purposes,       specific      information         that     would       be     best

                                       5
  Case 2:17-cr-00038-MHT-GMB Document 125 Filed 03/14/18 Page 6 of 13




addressed by a comprehensive, longitudinal evaluation.

Because the court found that there were no adequate

professional resources available locally to conduct such

an evaluation in the jail where Mosley was housed, and

because Mosley presented too high a risk of relapse to

be released into the community for the evaluation, the

court sent Mosley to the BOP for a presentence study of

his mental health.          See id. at 1297-1300.                Thus, in

Mosley, all of the conditions of § 3552(b) were present:

the   court    desired      more   information,           there    was    a

compelling reason for the study to be conducted by the

BOP, and locally available professional resources were

not adequate.

      Although Perez-Rives’s case presents a situation in

which ordinarily the court could reasonably “desire more

information”    and    be    inclined        to   order    a    § 3552(b)

evaluation,     the    defense         has   already       procured      an

evaluation     that    addresses         the      issues       raised    in

Mosley--that is, both culpability and treatment--and it

appears the psychologist did a comprehensive job despite

                                   6
  Case 2:17-cr-00038-MHT-GMB Document 125 Filed 03/14/18 Page 7 of 13




the constraints of the jail setting.            In preparation for

the evaluation, Flores reviewed all of the discovery

materials from Perez-Rives’s case and interviewed his

brother by telephone.        She evaluated Perez-Rives over the

course of more than four hours, during which time she

conducted a clinical interview with psychosocial history

and administered three examinations: (1) the Mini Mental

State   Exam,   (2)    the   Structured     Interview      Malingered

Symptomatology,       and    (3)   the   Personality       Assessment

Inventory.1     See Flores Report (doc. no. 108-2) at 1.

Her   conclusions--that       Perez-Rives     was    suffering     from

Major Depressive Disorder, Alcohol Use Disorder, Cocaine

Use Disorder, and Marijuana Use Disorder, which together

contributed to the offense conduct, and that he should

receive         treatment          for         depression           and

substance-abuse--directly address the concerns the court

raised in Mosley.



    1.     The Personality Assessment Inventory was
administered only in part, due to the evaluation being
cut short by jail personnel for administrative reasons.
See Flores Report (doc. no. 108-2) at 1.
                           7
  Case 2:17-cr-00038-MHT-GMB Document 125 Filed 03/14/18 Page 8 of 13




    Thus, because Perez-Rives has already received an

evaluation that satisfies the Mosley concerns, the first

question before the court is whether the government has

convinced the court that it still needs more information

about Perez-Rives than is otherwise available prior to

making    a     sentencing        determination.             See        18

U.S.C. § 3552(b).       The government seeks to present its

own evidence regarding Perez-Rives’s mental-health. See

Kansas, 134 S. Ct. at 601 (“When a defendant presents

evidence through a psychological expert who has examined

him, the government likewise is permitted to use the only

effective means of challenging that evidence: testimony

from an expert who has also examined him.”).                   Because

the court believes that, in this case, the government

should have the opportunity to add to the evidence so

that it adequately reflects the positions of both sides,

the court “desires more information than is otherwise

available to it as a basis for determining the sentence

to be imposed.”     18 U.S.C. § 3552(b).          Indeed, as stated



                                  8
  Case 2:17-cr-00038-MHT-GMB Document 125 Filed 03/14/18 Page 9 of 13




previously,         Perez-Rives      does     not    object     to    this

conclusion.

       The   next    and   more    significant      question    here    is

whether the court should order, as requested by the

government, that Perez-Rives’s evaluation be done at the

BOP.     Unlike the defendant in Mosely, Perez-Rives does

object to his evaluation not being done locally.

       As stated, to authorize an evaluation that is not

local, the court would need to find that there is a

compelling reason for the study to be conducted at the

BOP    or    that    adequate     professional      resources   are    not

available locally.         As to the latter, no showing has been

made to enable the court to find that “there are no

adequate professional resources available in the local

community to perform the study.”                18 U.S.C. § 3552(b).

While the government briefly stated that it could not

find    a    local    psychologist,      it    offered    no    details,

explanation, or evidence to show that it actually tried.2



    2. A professional need not have his or her office in
the local area in order to be “available in the local
                           9
  Case 2:17-cr-00038-MHT-GMB Document 125 Filed 03/14/18 Page 10 of 13




Further, unlike in Mosley, the court has no reason to

believe the resources available locally are inadequate

to perform the study: the government has not argued, and

the   record    does    not    support,       that   a   longitudinal

assessment at the BOP, rather than a locally performed

assessment,    is   necessary     due    to   specific     aspects       of

Perez-Rives’s condition or history.3

      Because no showing has been made that the study

cannot   be    performed      locally,    the    court    can    commit

Perez-Rives to the BOP for an evaluation under § 3552(b)

only if it finds “a compelling reason” for the study to




community” to do the evaluation. For example, defense
counsel’s expert drove in from Georgia.

    3. As stated, an important difference between the
instant case and Mosley, is that here Perez-Rives objects
to being sent to the BOP. While the court acknowledged
in Mosley that a defendant’s due process rights might be
implicated by the decision to transfer him to the BOP for
an evaluation, it did not reach the issue because Mosley
consented to the transfer. See Mosley, 277 F. Supp. 3d
at 1300.     Here, Perez-Rives’s objection raises due
process concerns. However, as the court is denying the
motion under § 3552(b), it need not reach the issue of
what must be shown under the Due Process Clause to commit
Perez-Rives to the BOP at this time.
                            10
  Case 2:17-cr-00038-MHT-GMB Document 125 Filed 03/14/18 Page 11 of 13




be conducted at the BOP.          18 U.S.C. § 3552(b).         There are

few cases discussing what qualifies as a “compelling

reason” under § 3552(b).           See United States v. Donaghe,

924 F.2d 940, 945 (9th Cir. 1991) (noting a lack of case

law on this issue).

    Nevertheless, the government has not shown that its

reasons--the comprehensiveness of a study at BOP, the

expertise      of     BOP     doctors,          and      the     inherent

trustworthiness       of    the     BOP       compared    to     partisan

experts--are sufficient to commit a defendant to the BOP.

It has not shown that locally available resources could

not conduct a comprehensive study; that locally available

resources do not possess sufficient expertise; or that

local   available     resources         are    not    neutral,    as   the

government implies is the case with the BOP.

    As presented, these reasons are nothing more than

generalizations.       If a mere recitation of these reasons

was sufficient under § 3552(b), the court could send a

defendant to the BOP at will, if not at whim.                          The



                                   11
  Case 2:17-cr-00038-MHT-GMB Document 125 Filed 03/14/18 Page 12 of 13




requirement that the reasons be “compelling” would be

eviscerated.

    Thus, while the court is willing to provide the

government    an    opportunity     to      secure    a       psychological

evaluation of Perez-Rives, the government has not shown

that an adequate evaluation cannot be conducted locally,

or otherwise demonstrated a compelling reason for the BOP

to perform the study.

                                 ***

    Accordingly, in the absence of an adequate reason to

commit defendant Perez-Rives to the Bureau of Prisons,

it is ORDERED that:

    (1)    The     government's     motion      for       a    psychiatric

examination (doc. no. 110) is granted to the extent that

it has leave to have an expert of its choosing conduct a

mental-health       examination        of    defendant          Perez-Rives

locally.

    (2) The motion is denied in all other respects at

this time. The government may renew the motion with (a)

an evidentiary showing, under 18 U.S.C. § 3552(b), that

                                  12
     Case 2:17-cr-00038-MHT-GMB Document 125 Filed 03/14/18 Page 13 of 13




there are no adequate professional resources available

to    conduct     a   mental-health       evaluation      in   the   local

community or that there are compelling reasons for a

Bureau of Prisons evaluation and (b) reasons why an

evaluation at the Bureau of Prison would not violate

defendant Perez-Rives’s due process rights.

       DONE, this the 14th day of March, 2018.

                                       /s/ Myron H. Thompson
                                    UNITED STATES DISTRICT JUDGE




                                     13
